Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 1 of 9




                      EXHIBIT 1
                               Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 2 of 9
                                                Circuit Court of Maryland

                                                     Go Back Now


Case Information


Court System: Circuit Court for Baltimore City - Civil System
Case Number: 24C22004662
Title:           IBN Williams vs Coppin State University, et al
Case Type:       Contract Filing Date: 11/02/2022
Case Status:     Open/Active




Plaintiff/Petitioner Information


    (Each Plaintiff/Petitioner is displayed below)
Party Type: Plaintiff Party No.: 1
Business or Organization Name: IBN Williams
Attorney(s) for the Plaintiff/Petitioner



Name:                Keilty III, Esq, Thomas W
Appearance Date: 07/06/2023
Practice Name:
Address:             One South Street
                     Suite 2125
City:                Baltimore State: MD Zip Code: 21202
Name:                Epstein, Esq, Daniel N
Appearance Date: 01/19/2023
Removal Date:        06/30/2023
Practice Name:       Morgan & Morgan DC, PLLC
Address:             1901 Penn. Avenue, N.W.
                     Suite 300
City:                Washington State: DC Zip Code: 20006
Name:                Davis, Esq, Terence
Appearance Date: 01/19/2023
Removal Date:        06/30/2023
Practice Name:       Morgan & Morgan DC, PLLC
Address:             1901 Penn. Avenue, N.W.
                     Suite 300
City:                Washington State: DC Zip Code: 20006
Name:                Chambers, Esq, Kayann
Appearance Date: 01/11/2023
Removal Date:        06/30/2023
Practice Name:       Morgan & Morgan DC, PLLC
Address:             1901 Penn Avenue, N.W.
                     Suite 300
City:                Washington State: DC Zip Code: 20006
Name:                Anderson, Esq, Peter T
Appearance Date: 11/02/2022
Removal Date:        01/11/2023
Practice Name:
Address:             1901 Pennsylvania Avenue
                     Suite 300
City:                Washington State: DC Zip Code: 20006
Name:                Bonadio, Esq, Nicholas C
Appearance Date: 07/25/2023
Practice Name:
Address:             1 South Street
                     Suite 2125
City:                Baltimore State: MD Zip Code: 21202


Defendant/Respondent Information


    (Each Defendant/Respondent is displayed below)
Party Type: Defendant Party No.: 1
Business or Organization Name: Coppin State University
Address: 2500 W North Ave
City:      Baltimore State: MD Zip Code:
Attorney(s) for the Defendant/Respondent



Name:                Lichterman, Esq, Ariel S.
Appearance Date: 01/18/2023
Removal Date:        02/06/2023
Practice Name:       Assistant Attorney General, Dept Public Safety & Corr Services
Address:             6776 Reisterstown Road
                     Suite 311
City:                Baltimore State: MD Zip Code: 21215
Name:                Lichterman, Esq, Ariel
Appearance Date: 02/06/2023
Practice Name:       Office Of The Attorney General, Higher Education Division
Address:             200 Saint Paul Place
                     17th Floor
City:                Baltimore State: MD Zip Code: 21202-2021
Name:            Sheridan, Ann M
Appearance Date: 08/28/2023
Practice Name:       Office Of The Attorney General, Civil Division
Address:             200 St. Paul Place
                     20th Floor
City:                Baltimore State: MD Zip Code: 21202
                            Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 3 of 9
Party Type: Defendant Party No.: 3
Name: Brownlee, Lucien
Address: 21 Mott St
City:      Lawnside State: NJ Zip Code:
Attorney(s) for the Defendant/Respondent



Name:             Collins, Esq, Tiffani S
Appearance Date: 02/03/2023
Practice Name:   Collins Legal Group, LLC
Address:          1122 Kenilworth Drive
                  Suite 507
City:             Townson State: MD Zip Code: 21204

Party Type: Defendant Party No.: 7
Business or Organization Name: John Doe

Party Type: Defendant Party No.: 8
Business or Organization Name: ABC Corp.

Party Type: Defendant Party No.: 9
Business or Organization Name: John Does I-X

Party Type: Defendant Party No.: 2
Business or Organization Name: University System Of Maryland
Address: 701 E Pratte St
City:    Baltimore State: MD Zip Code:
Attorney(s) for the Defendant/Respondent



Name:             Lichterman, Esq, Ariel S.
Appearance Date: 01/18/2023
Removal Date:    02/06/2023
Practice Name:    Assistant Attorney General, Dept Public Safety & Corr Services
Address:          6776 Reisterstown Road
                  Suite 311
City:             Baltimore State: MD Zip Code: 21215
Name:             Lichterman, Esq, Ariel
Appearance Date: 02/06/2023
Practice Name:   Office Of The Attorney General, Higher Education Division
Address:          200 Saint Paul Place
                  17th Floor
City:             Baltimore State: MD Zip Code: 21202-2021

Party Type: Defendant Party No.: 4
Name: Carter, Derek
Address: 2500 W North Ave.
City:      Baltimore State: MD Zip Code:
Attorney(s) for the Defendant/Respondent



Name:             Lichterman, Esq, Ariel S.
Appearance Date: 01/18/2023
Removal Date:    02/06/2023
Practice Name:    Assistant Attorney General, Dept Public Safety & Corr Services
Address:          6776 Reisterstown Road
                  Suite 311
City:             Baltimore State: MD Zip Code: 21215
Name:             Lichterman, Esq, Ariel
Appearance Date: 02/06/2023
Practice Name:   Office Of The Attorney General, Higher Education Division
Address:          200 Saint Paul Place
                  17th Floor
City:             Baltimore State: MD Zip Code: 21202-2021

Party Type: Defendant Party No.: 5
Name: Dixon, Juan
Address: 2500 W North Ave.
City:      Baltimore State: MD Zip Code:
Attorney(s) for the Defendant/Respondent



Name:            Lichterman, Esq, Ariel S.
Appearance Date: 01/18/2023
Removal Date:     02/06/2023
Practice Name:    Assistant Attorney General, Dept Public Safety & Corr Services
Address:          6776 Reisterstown Road
                  Suite 311
City:             Baltimore State: MD Zip Code: 21215
Name:            Lichterman, Esq, Ariel
Appearance Date: 02/06/2023
Practice Name:    Office Of The Attorney General, Higher Education Division
Address:          200 Saint Paul Place
                  17th Floor
City:             Baltimore State: MD Zip Code: 21202-2021

Party Type: Defendant Party No.: 6
Business or Organization Name: State Of Maryland
Address: 100 State Circle
City:      Annapolis State: MD Zip Code:
Address: Maryland State Treasurer
City:    Annapolis State: MD Zip Code: 21401
Attorney(s) for the Defendant/Respondent
                               Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 4 of 9
Name:               Lichterman, Esq, Ariel S.
Appearance Date: 01/18/2023
Removal Date:    02/06/2023
Practice Name:      Assistant Attorney General, Dept Public Safety & Corr Services
Address:            6776 Reisterstown Road
                    Suite 311
City:               Baltimore State: MD Zip Code: 21215
Name:               Lichterman, Esq, Ariel
Appearance Date: 02/06/2023
Practice Name:   Office Of The Attorney General, Higher Education Division
Address:            200 Saint Paul Place
                    17th Floor
City:               Baltimore State: MD Zip Code: 21202-2021


Court Scheduling Information


Event Type: Motion Hearing (Civil) Notice Date: 06/27/2023
Event Date: 07/24/2023 Event Time: 09:30 AM
Result:       Held/Concluded Result Date: 07/24/2023

Event Type: Pre-Trial Conference Notice Date: 04/04/2023
Event Date: 01/08/2024 Event Time: 11:00 AM
Result:      Result Date:

Event Type: Civil Trial Notice Date:
Event Date: 02/08/2024 Event Time: 09:00 AM
Result:        Result Date:


Related Persons Information


   (Each Related person is displayed below)
Party Type: Mediator Party No.: 1
Name: Braverman, Nathan
Address: 10 E. Lee Street
City:      Baltimore State: MD Zip Code: 21202


Document Tracking


   (Each Document listed. Documents are listed in Document No./Sequence No. order)
Doc No./Seq No.: 1/0
File Date:       11/02/2022 Entered Date: 11/03/2022 Decision:
Party Type:         Plaintiff Party No.: 1
Document Name: Complaint with Request for Jury Trial



Doc No./Seq No.: 1/1
File Date:          02/03/2023 Entered Date: 02/08/2023 Decision:
Party Type:         Defendant Party No.: 3
Document Name: Defendant's Answer to Complaint



Doc No./Seq No.: 2/0
File Date:          12/05/2022 Entered Date: 12/05/2022 Decision:
Party Type:    Defendant Party No.: 3
Document Name: Affidavit of Service - Served
                    WRIT OF SUMMONS (Private Process) served 11/25/22

Doc No./Seq No.: 3/0
File Date:          12/06/2022 Entered Date: 12/07/2022 Decision:
Party Type:    Defendant Party No.: 1
Document Name: Affidavit of Service - Served
                    WRIT OF SUMMONS (Private Process) served 11/29/22

Doc No./Seq No.: 4/0
File Date:       12/06/2022 Entered Date: 12/07/2022 Decision:
Party Type:         Defendant Party No.: 2
Document Name: Affidavit of Service - Served
               WRIT OF SUMMONS (Private Process) served 11/29/22

Doc No./Seq No.: 5/0
File Date:          12/06/2022 Entered Date: 12/07/2022 Decision:
Party Type:         Defendant Party No.: 4
Document Name: Affidavit of Service - Served
                    WRIT OF SUMMONS (Private Process) served 11/29/22

Doc No./Seq No.: 6/0
File Date:          12/06/2022 Entered Date: 12/07/2022 Decision:
Party Type:    Defendant Party No.: 5
Document Name: Affidavit of Service - Served
                    WRIT OF SUMMONS (Private Process) served 11/29/22

Doc No./Seq No.: 7/0
File Date:          12/27/2022 Entered Date: 12/28/2022 Decision: Granted
Party Type:    Defendant Party No.: 3
Document Name: Consent Motion to Extend Time to Respond



Doc No./Seq No.: 7/1
File Date:       01/04/2023 Entered Date: 01/04/2023 Decision:
Document Name: Order of Court
                    ORDERED that the Motion (#7) is GRANTED.Judge Fletcher-Hill.
Doc No./Seq No.: 7/2
                             Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 5 of 9
File Date:     01/04/2023 Entered Date: 01/04/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 8/0
File Date:       12/27/2022 Entered Date: 12/28/2022 Decision:
Party Type:         Defendant Party No.: 3
Document Name: Line



Doc No./Seq
                 9/0
No.:
File Date:       01/18/2023 Entered Date: 01/19/2023 Decision:
Party Type:      Defendant Party No.: 1
Document
Name:            Defendant's Consent Motion for Extending of Time to File Responsive Pleading
                 Filed by DEF001-Coppin State University, DEF002-University System Of Maryland,
                 DEF004-Carter, DEF005-Dixon

Doc
No./Seq       9/1
No.:
File Date:    01/20/2023 Entered Date: 01/24/2023 Decision: Granted
Document
              ORDER
Name:
              ORDERED; That the University Defendants' Motion for Extension of Time is hereby GRANTED;
              andThe University Defendants shall file a single response to the Complaint within thirty (30)
              days after proper service of the Complaint upon the State Treasurer.See Order for further
              details.Judge Nugent

Doc No./Seq No.: 9/2
File Date:     01/24/2023 Entered Date: 01/24/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 10/0
File Date:       01/11/2023 Entered Date: 01/25/2023 Decision:
Party Type:         Plaintiff Party No.: 1
Document Name: Joint Motion for Substitution of Counsel



Doc No./Seq No.: 11/0
File Date:          01/19/2023 Entered Date: 01/25/2023 Decision:
Party Type:         Plaintiff Party No.: 1
Document Name: Withdrawal of Appearance



Doc No./Seq No.: 12/0
File Date:          01/25/2023 Entered Date: 01/25/2023 Decision:
Party Type:    Plaintiff Party No.: 1
Document Name: Attorney Appearance Removed
                    Peter T Anderson

Doc No./Seq No.: 13/0
File Date:          01/11/2023 Entered Date: 01/26/2023 Decision:
Party Type:    Plaintiff Party No.: 1
Document Name: Request to Reissue Summons



Doc No./Seq No.: 14/0
File Date:       02/09/2023 Entered Date: 02/09/2023 Decision:
Document Name: Standard Track Scheduling Order Generat



Doc No./Seq No.: 15/0
File Date:          02/06/2023 Entered Date: 02/14/2023 Decision:
Party Type:    Defendant Party No.: 6
Document Name: Line to Update Address



Doc No./Seq No.: 16/0
File Date:          02/15/2023 Entered Date: 02/15/2023 Decision:
Party Type:         Defendant Party No.: 1
Document Name: Attorney Appearance Removed and Re-entered for Address Correction
               Ariel S Lichterman

Doc No./Seq No.: 17/0
File Date:       02/15/2023 Entered Date: 02/15/2023 Decision:
Party Type:         Defendant Party No.: 2
Document Name: Attorney Appearance Removed and Re-entered for Address Correction
               Ariel S Lichterman

Doc No./Seq No.: 18/0
File Date:          02/15/2023 Entered Date: 02/15/2023 Decision:
Party Type:         Defendant Party No.: 4
Document Name: Attorney Appearance Removed and Re-entered for Address Correction
                    Ariel S Lichterman

Doc No./Seq No.: 19/0
File Date:          02/15/2023 Entered Date: 02/15/2023 Decision:
Party Type:    Defendant Party No.: 5
Document Name: Attorney Appearance Removed and Re-entered for Address Correction
                    Ariel S Lichterman

Doc No./Seq No.: 20/0
File Date:          02/15/2023 Entered Date: 02/15/2023 Decision:
Party Type:
                              Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 6 of 9
                     Defendant Party No.: 6
Document Name: Attorney Appearance Removed and Re-entered for Address Correction
               Ariel S Lichterman

Doc No./Seq No.: 21/0
File Date:     03/16/2023 Entered Date: 03/16/2023 Decision: Vacated/Set Aside
Document Name: Order for Mediation Issued



Doc No./Seq No.: 22/0
File Date:           03/21/2023 Entered Date: 03/23/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Request to Reissue Summons



Doc No./Seq No.: 23/0
File Date:       03/23/2023 Entered Date: 03/28/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Motion for Special Admission Pro Hac Vic



Doc No./Seq No.: 24/0
File Date:     03/29/2023 Entered Date: 03/29/2023 Decision:
Document Name: Notice of Cont. Dismissal Lack of Juris.
                     John Doe\nABC Corp.\n

Doc No./Seq No.: 24/1
File Date:           04/27/2023 Entered Date: 05/01/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Plaintiff's Response to Notification to Parties of Contemplated Dismissal



Doc
No./Seq       25/0
No.:
File Date:    04/04/2023 Entered Date: 04/04/2023 Decision:
Document Batch Hearing Notice Sent
Name:
              Event: PTC Block Date: 01/08/24 Facility: 511\nPARTIES : \nLichterman, Ariel 200 Saint
              Paul Place 17th Floor, Baltimore, MD, 212022021\nCollins, Tiffani 20 South Charles Street
              Suite 901, Baltimore, MD, 21201\nJohn Doe, , , , \nABC Corp., , , , \nBraverman, Nathan 10
              E. Lee Street #2105, Baltimore, MD, 21202\nEpstein, Daniel 1901 Penn. Avenue, N.W. Suite
              300, Washington, DC, 20006\nDavis, Terence 1901 Penn. Avenue, N.W. Suite 300,
              Washington, DC, 20006\nChambers, Kayann 1901 Penn Avenue, N.W. Suite 300,
              Washington, DC, 20006\n

Doc No./Seq No.: 26/0
File Date:       04/14/2023 Entered Date: 04/17/2023 Decision: Granted
Party Type:          Defendant Party No.: 3
Document Name: Defendant's Motion to Vacate Order for Mediation



Doc No./Seq
            26/1
No.:
File Date:  05/02/2023 Entered Date: 05/02/2023 Decision:
Document
               Order of Court
Name:
               ORDERED that the motion be and hereby is GRANTED; and it is further ORDERED that the
               order for mediation by this court on March 16, 2023, be and hereby is VACATED.Judge: E
               Atas

Doc No./Seq No.: 26/2
File Date:           05/02/2023 Entered Date: 05/02/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 27/0
File Date:           04/27/2023 Entered Date: 05/01/2023 Decision: Granted
Party Type:          Plaintiff Party No.: 1
Document Name: Motion for Special Admission of Daniel N. Epstein, Esq



Doc No./Seq
                 27/1
No.:
File Date:       05/18/2023 Entered Date: 05/18/2023 Decision:
Document
                 Order of Court
Name:
                 ORDERED that the motion for special admission of Daniel N. Epstein be, and hereby is,
                 GRANTED (see order)Judge: G Sampson

Doc No./Seq No.: 27/2
File Date:       05/18/2023 Entered Date: 05/18/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 28/0
File Date:           05/10/2023 Entered Date: 05/11/2023 Decision:
Party Type:    Defendant Party No.: 3
Document Name: Notice of Service of Discovery Material



Doc No./Seq No.: 29/0
File Date:       05/10/2023 Entered Date: 05/11/2023 Decision:
Party Type:          Defendant Party No.: 3
Document Name: Notice of Service of Discovery Material



Doc No./Seq No.: 30/0
File Date:           05/12/2023 Entered Date: 05/15/2023 Decision: Granted
Party Type:
                              Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 7 of 9
                     Plaintiff Party No.: 1
Document Name: Plaintiff's Consent Motion to Extend the Plaintiff's Deadline to Identify Expert



Doc No./Seq
                30/1
No.:
File Date:      05/18/2023 Entered Date: 05/18/2023 Decision:
Document
                Order of Court
Name:
                It is this 16th day of May, 2023, hereby ORDERED that the Motion is GRANTED.Please see
                order for detailsJudge Nugent

Doc No./Seq No.: 30/2
File Date:       05/18/2023 Entered Date: 05/18/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq
               31/0
No.:
File Date:     05/18/2023 Entered Date: 05/19/2023 Decision: Granted
Party Type:    Defendant Party No.: 1
Document
               Motion to Stay Discovery Pending Disposition of Their Motion to Dismiss
Name:
               Filed by DEF001-Coppin State University, DEF002-University System Of Maryland, DEF004-
               Carter, DEF005-Dixon, DEF006-State Of Maryland

Doc
No./Seq       31/1
No.:
File Date:    06/14/2023 Entered Date: 06/14/2023 Decision:
Document
              Order of Court
Name:
              .....................Ordered;that the university defendant's motion to stay discovert is hereby
              granted; anddiscovery and all other deadlines in this matter are stayed pending disposition
              of the university defendant's motion to dismiss.Judge Geller

Doc No./Seq No.: 31/2
File Date:       06/14/2023 Entered Date: 06/14/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 32/0
File Date:           05/18/2023 Entered Date: 05/24/2023 Decision: Granted
Party Type:    Defendant Party No.: 1
Document Name: Motion to Dismiss



Doc No./Seq No.: 32/1
File Date:           06/16/2023 Entered Date: 06/22/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Memorandum in opposition to motion to dismiss



Doc No./Seq No.: 32/2
File Date:       06/16/2023 Entered Date: 06/23/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Request for Hearing on Selected Motion



Doc No./Seq
                 32/3
No.:
File Date:       07/18/2023 Entered Date: 07/19/2023 Decision:
Party Type:      Defendant Party No.: 1
Document
Name:            Reply Memorandum of Law in Support of Motion to Dismiss
                 Filed by DEF001-Coppin State University, DEF002-University System Of Maryland,
                 DEF005-Dixon, DEF004-Carter

Doc
No./Seq       32/4
No.:
File Date:    07/24/2023 Entered Date: 07/26/2023 Decision:
Document
              Order of the Court
Name:
              It is this 24th day of July 2023, ORDERED that Defendants' Motion is GRANTED As to
              Defendants Coppin State University, The University System of Maryland, the State of
              Maryland, Derek Carter and Juan Dixon only. (See Order for details). It is further ORDERED
              the Plaintiff is granted leave to amend its complaint.Judge M. Copeland

Doc No./Seq No.: 32/5
File Date:           07/26/2023 Entered Date: 07/26/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 33/0
File Date:       05/23/2023 Entered Date: 05/25/2023 Decision:
Party Type:          Defendant Party No.: 6
Document Name: Return of Service - Served
                     WRIT OF SUMMONS (Private Process) served 04/27/23

Doc No./Seq No.: 34/0
File Date:           05/31/2023 Entered Date: 06/01/2023 Decision: Granted
Party Type:          Plaintiff Party No.: 1
Document Name: Consent Motion to Extend the Plaintiff's Deadline to Responsd to Defendant's
                     Motion to Dismiss

Doc No./Seq
                34/1
No.:
File Date:      06/08/2023 Entered Date: 06/08/2023 Decision:
Document
                Order of Court
Name:
                              Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 8 of 9
                 It is this 6th day of June, 2023, hereby ORDERED that the Motion is GRANTED.Please see
                 order for details.Judge Nugent

Doc No./Seq No.: 34/2
File Date:           06/08/2023 Entered Date: 06/08/2023 Decision:
Document Name: Copies Mailed



Doc
No./Seq       35/0
No.:
File Date:    06/26/2023 Entered Date: 06/26/2023 Decision:
Document Notice Motion Hearing Sent
Name:
              Event: MOTN Block Date: 07/24/23 Facility: 113\nPARTIES : \nLichterman, Ariel 200 Saint
              Paul Place 17th Floor, Baltimore, MD, 212022021\nCollins, Tiffani 20 South Charles Street
              Suite 901, Baltimore, MD, 21201\nJohn Doe, , , , \nABC Corp., , , , \nBraverman, Nathan 10
              E. Lee Street #2105, Baltimore, MD, 21202\nEpstein, Daniel 1901 Penn. Avenue, N.W. Suite
              300, Washington, DC, 20006\nDavis, Terence 1901 Penn. Avenue, N.W. Suite 300,
              Washington, DC, 20006\nChambers, Kayann 1901 Penn Avenue, N.W. Suite 300,
              Washington, DC, 20006\n

Doc
No./Seq       36/0
No.:
File Date:    06/27/2023 Entered Date: 06/27/2023 Decision:
Document Notice Motion Hearing Sent
Name:
              Event: MOTN Block Date: 07/24/23 Facility: 113\nPARTIES : \nLichterman, Ariel 200 Saint
              Paul Place 17th Floor, Baltimore, MD, 212022021\nCollins, Tiffani 20 South Charles Street
              Suite 901, Baltimore, MD, 21201\nJohn Doe, , , , \nABC Corp., , , , \nBraverman, Nathan 10
              E. Lee Street #2105, Baltimore, MD, 21202\nEpstein, Daniel 1901 Penn. Avenue, N.W. Suite
              300, Washington, DC, 20006\nDavis, Terence 1901 Penn. Avenue, N.W. Suite 300,
              Washington, DC, 20006\nChambers, Kayann 1901 Penn Avenue, N.W. Suite 300,
              Washington, DC, 20006\n

Doc No./Seq No.: 37/0
File Date:       06/30/2023 Entered Date: 07/03/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Line Withdrawal and Sustitution of Counsel
                     (Thomas Keilty Esq. to enter own appearance at a later date)

Doc No./Seq No.: 38/0
File Date:           07/03/2023 Entered Date: 07/03/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Attorney Appearance Removed
                     Terence Davis

Doc No./Seq No.: 39/0
File Date:           07/03/2023 Entered Date: 07/03/2023 Decision:
Party Type:    Plaintiff Party No.: 1
Document Name: Attorney Appearance Removed
                     Kayann Chambers

Doc No./Seq No.: 40/0
File Date:           07/03/2023 Entered Date: 07/03/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: Attorney Appearance Removed
               Daniel N Epstein

Doc No./Seq No.: 41/0
File Date:       07/03/2023 Entered Date: 07/03/2023 Decision:
Document Name: Notice to Employ New Counsel



Doc No./Seq No.: 42/0
File Date:           07/05/2023 Entered Date: 07/05/2023 Decision:
Party Type:    Defendant Party No.: 7
Document Name: Dismissed w/o prejudice as to certain parties pursuant to Md. Rule 2-507(b).



Doc No./Seq No.: 43/0
File Date:           07/05/2023 Entered Date: 07/05/2023 Decision:
Party Type:          Defendant Party No.: 8
Document Name: Dismissed w/o prejudice as to certain parties pursuant to Md. Rule 2-507(b).



Doc No./Seq No.: 44/0
File Date:       07/03/2023 Entered Date: 07/06/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: ENTRY OF APPEARANCE



Doc
No./Seq       45/0
No.:
File Date:    07/24/2023 Entered Date: 07/24/2023 Decision:
Document
              Open Court Proceeding
Name:
              IBN WILLIAMS V COPPIN STATE UNIVERSITY ET ALCASE # 24-C-22-24427/24/23 CASE
              SUBMITTED TO THE COURT FOR DETERMINATION WITHOUT THE AID OF A JURY
              (COPELAND, J )7/24/23 DEFENDANT COPPIN STATE UNIVERSITY AND UNIVERSITY SYSTEM
              OF MARYLAND MOTION TO DISMISS HEARD AND "GRANTED". ORDER FILED. (COPELAND, J
              )

Doc No./Seq No.: 46/0
File Date:           07/17/2023 Entered Date: 07/25/2023 Decision:
Party Type:          Plaintiff Party No.: 1
Document Name: ENTRY OF APPEARANCE



Doc No./Seq No.: 47/0
File Date:
                             Case 1:23-cv-02590-JRR Document 1-1 Filed 09/22/23 Page 9 of 9
                  08/11/2023 Entered Date: 08/14/2023 Decision: Granted
Party Type:    Defendant Party No.: 3
Document Name: Consent Motion to Extend Time to File Defendant's Expert Designation



Doc No./Seq 47/1
No.:
File Date:    08/24/2023 Entered Date: 08/24/2023 Decision:
Document
Name:         Order of Court
              ORDERED THAT CONSENT MOTION TO EXTEND TIME TO FILE DEFENDANT'S EXPERT
              DESIGNATION BE AND IS GRANTED, JUDGE J. NUGENT (SEE ORIGINAL ORDER)

Doc No./Seq No.: 47/2
File Date:        08/24/2023 Entered Date: 08/24/2023 Decision:
Document Name: Copies Mailed



Doc No./Seq No.: 48/0
File Date:       08/23/2023 Entered Date: 08/24/2023 Decision:
Party Type:       Plaintiff Party No.: 1
Document Name: Amended Complaint



Doc No./Seq No.: 48/1
File Date:        09/07/2023 Entered Date: 09/20/2023 Decision:
Party Type:       Defendant Party No.: 3
Document Name: Answer to Complaint



Doc No./Seq No.: 49/0
File Date:        08/23/2023 Entered Date: 08/24/2023 Decision:
Party Type:    Plaintiff Party No.: 1
Document Name: Line of Clarification
                  Filed by Attorney: Thomas W Keilty III Esq

Doc No./Seq No.: 50/0
File Date:       08/29/2023 Entered Date: 08/30/2023 Decision: Granted
Party Type:       Defendant Party No.: 1
Document Name: Consent Motion for Extension of Time to File Responsive Pleading
               Filed by DEF001-Coppin State University, DEF004-Carter, DEF005-Dixon

Doc No./Seq
No.:           50/1
File Date:     09/07/2023 Entered Date: 09/07/2023 Decision:
Document
               Order of Court
Name:
               ................Ordered that the University defendants motion for extension of time is hereby
               granted and extended to 09-14-23.Judge Nugent

Doc No./Seq No.: 51/0
File Date:        08/28/2023 Entered Date: 09/07/2023 Decision:
Party Type:       Defendant Party No.: 1
Document Name: Attorney Appearance Filed



Doc No./Seq
No.:            52/0
File Date:      09/13/2023 Entered Date: 09/14/2023 Decision:
Party Type:     Defendant Party No.: 1
Document        Defendants Consent Motion for Extension of Time to File Responsive Pleading
Name:
                Filed by DEF001-Coppin State University, DEF002-University System Of Maryland,
                DEF004-Carter, DEF005-Dixon

Doc No./Seq
               53/0
No.:
File Date:     09/18/2023 Entered Date: 09/19/2023 Decision:
Party Type:    Defendant Party No.: 1
Document
               Motion to Dismiss Amended Complaint, Memorandum
Name:
               Filed by DEF001-Coppin State University, DEF002-University System Of Maryland, DEF006-
               State Of Maryland, DEF005-Dixon, DEF004-Carter


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